38 F.3d 610
    309 U.S.App.D.C. 35
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Corey Bernard JORDAN, Appellant.
    No. 90-3257.
    United States Court of Appeals, District of Columbia Circuit.
    Sept. 9, 1994.
    
      Before:  BUCKLEY, HENDERSON and RANDOLPH, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for an opinion.  See D.C.Cir.Rule 36(b).  It is
    
    
      2
      ORDERED AND ADJUDGED that appellant's sentence be affirmed.  The district court did not abuse its discretion in sentencing appellant to consecutive terms of imprisonment for appellant's federal offense, which is subject to the Sentencing Guidelines, and appellant's District of Columbia Code offense, which is not subject to the Guidelines.   See United States v. Cutchin, 956 F.2d 1216, 1219 (D.C.Cir.1992).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 41.
    
    